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                      UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                          FORT WORTH DIVISION

       OUTSOURCING FACILITIES
       ASSOCIATION, ET AL.,

            Plaintiffs,

       v.                                                  No. 4:24-cv-0953-P
       UNITED STATES FOOD AND DRUG
       ADMINISTRATION, ET AL.,

            Defendants.

                               OPINION & ORDER
            Before the Court are Plaintiffs Outsourcing Facilities Association’s
       and      North      American         Custom     Laboratories      LLC
       Partners’ (collectively “Plaintiffs”) Motion for Summary Judgment
       (ECF No. 121); Defendants Dr. Robert M. Califf’s and the United States
       Food and Drug Administration’s (“FDA”) (collectively, the “Federal
       Defendants”) Motion for Summary Judgment (ECF No. 124); and
       Intervenor Defendant Eli Lilly and Company’s (“Lilly”) (collectively with
       the Federal Defendants, the “FDA Defendants”) Motion for Summary
       Judgment (ECF No. 127). Having considered the briefing, record,
       applicable legal authorities, and Parties’ oral arguments, the Court will
       DENY Plaintiffs’ Motion and GRANT the FDA Defendants’ Motions.

                                  BACKGROUND
           The Court’s previous order on Plaintiffs’ Motion for Preliminary
       Injunction and Stay thoroughly discusses the statutory and regulatory
       background, and the Court will not repeat it here. Outsourcing Facilities
       Ass’n v. U.S. Food & Drug Admin., No. 4:24-CV-0953-P, 2025 WL
       746028, at *1–2 (N.D. Tex. Mar. 5, 2025) (Pittman, J.). Thus, the
       following is a brief recitation of the relevant procedural history of this
       case.
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          Plaintiffs filed this case on October 7, 2024, challenging the FDA’s
       removal of Mounjaro® and Zepbound® (collectively the “Lilly Drugs”)
       from the shortage list. Shortly thereafter, on October 11, 2024, the FDA
       filed an Unopposed Motion to Remand and Stay the Case so the FDA
       could “reevaluate the decision at issue in this case.” The Court granted
       the motion, and the FDA reconsidered its decision. On December
       19, 2024, the FDA issued a “Delisting Action” reaffirming its decision to
       remove the Lilly Drugs from the shortage list. The Delisting Action was
       memorialized in two documents. The first, titled the “Decision,”
       presented the evidence considered by the FDA and its reasoning. The
       second, titled the “Order,” summarized the FDA’s rationale and
       provided that the FDA would exercise its enforcement discretion to
       delay the enforcement of its decision.

          Subsequently, on January 1, 2025, Lilly filed its Motion to Intervene,
       which the Court granted on January 6, 2025. On January 2, 2025,
       Plaintiffs and the Federal Defendants filed a Joint Motion to Reopen the
       Case and Enter Scheduling Order. After holding a hearing on January
       14, 2025, the Court reopened the case and set a briefing schedule on the
       Motion for Preliminary Injunction. The Court issued an opinion on
       March 5, 2025, denying Plaintiffs’ Motion for Preliminary Injunction
       and Stay, which Plaintiffs challenged in an interlocutory appeal.
       ECF Nos. 100, 103. The Court placed the Parties on a briefing schedule
       for their respective Motions for Summary Judgment. ECF No. 116.
       Those Motions have been briefed and are ripe for consideration.

                               LEGAL STANDARD
          In a case challenging an agency action under the Administrative
       Procedure Act (“APA”), summary judgment “serves as the mechanism
       for deciding” whether the action “is supported by the administrative
       record and otherwise consistent with the APA standard of review.”
       Gadhave v. Thompson, No. 3:21-cv-2938-D, 2023 WL 6931334, at *1
       (N.D. Tex. Oct. 19, 2023) (citation omitted). The agency resolves “factual
       issues to arrive at a decision supported by the administrative record.”
       Yogi Metals Grp. Inc. v. Garland, 567 F. Supp. 3d 793, 797–98 (S.D. Tex.
       2021), aff’d, 38 F.4th 455 (5th Cir. 2022) (citation omitted). The district
       court then applies the APA standards of review to determine whether,
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       as a matter of law, “the evidence in the administrative record permitted
       the agency to make the decision it did.” MRC Energy Co. v. U.S.
       Citizenship & Immigr. Servs., No. 3:19-cv-2003-K, 2021 WL 1209188, at
       *3 (N.D. Tex. Mar. 31, 2021) (citation omitted). The entire case is thus a
       question of law, with the district court sitting as an appellate tribunal.
       Id. at *3.

                                     ANALYSIS
          Plaintiffs’ Amended Complaint raises six claims for why the FDA’s
       Delisting Action should be set aside. See generally ECF No. 68. Those
       claims are: (1) rulemaking without conducting notice and comment;
       (2) failure to consider the statutory factors; (3) facially contradictory
       findings that undermine the basis of the agency action; (4) failure to
       consider countervailing evidence; and (5) failure to publish a rule in the
       federal registry; and (6) unlawful interpretation of the statute under
       Loper Bright Enterprises v. Raimondo, 603 U.S. 369 (2024). Id. at 17–
       24. In their respective Motions, the Parties each contend they are
       entitled to summary judgment on all of Plaintiffs’ claims. ECF Nos. 121,
       124, 128. Because claims one and five are both predicated on the premise
       that the Delisting Action is a rule, the Court considers them together.
       The Court will then address Plaintiffs’ unlawful-interpretation claim.
       And      finally,   the     Court      concludes     with    Plaintiffs’
       arbitrary-and-capricious claims.

       A. Notice-and-Comment and Failure to Publish Claims
           Just as before, the Parties dispute how to classify the FDA’s
       Delisting Action. Plaintiffs assert the Delisting Action is a substantive
       rule. The FDA Defendants claim the Delisting Action is an informal
       adjudication. If the Delisting Action is a substantive rule, as Plaintiffs
       urge, then the FDA was required to comply with the APA’s stringent
       notice-and-comment requirements and that process is reviewed under
       the arbitrary-and-capricious standard. But if the Delisting Action is an
       informal adjudication, as the FDA Defendants urge, then the Court
       simply reviews the decision under the arbitrary-and-capricious
       standard.



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           As Plaintiffs state in their Motion, the arguments raised on this
       issue are the same as the arguments that were presented to the Court
       in Plaintiffs’ Motion for Preliminary Injunction. Thus, the Court has
       already thoroughly analyzed and decided on these very arguments. See
       Outsourcing Facilities Ass’n, 2025 WL 746028, at *4–8. A decision the
       United States Court of Appeals for the Fifth Circuit has suggested it
       agrees with. See Outsourcing Facilities Ass’n, et al., v. U.S. Food and
       Drug Admin., et al., No. 25-10385 at ECF No. 98-1 (“For substantially
       the reasons given by the district court in its thorough opinion explaining
       its denial of a preliminary injunction, we find that Plaintiffs-Appellants
       have not made their ‘clear showing.’”). The Court fully adopts that
       reasoning and conclusion here and finds that the Delisting Action is not
       a rule and was thus properly promulgated through adjudication.
       Therefore, Plaintiffs’ Motion is DENIED, and the FDA Defendants’
       Motions are GRANTED on these claims.

       B. Unlawful Interpretation Claim
           Plaintiffs’ next claim is based on their assertion that the FDA did
       not comply with “the best reading of the statute” as required by Loper
       Bright. ECF No. 122 at 15. In support of this assertion, Plaintiffs argue
       that: (1) a           analysis conflicts with the statute’s “up-to-date”
       requirement; (2) the FDA erroneously made its decision on a nationwide
       basis; (3) the FDA erred in determining that some delays in shipping do
       not evidence a shortage because it is a statutorily enumerated factor
       that the FDA must consider; and (4) the FDA erred in determining that
       compounded versions of the Lilly Drugs are not the same as the Lilly
       Drugs for purposes of past demand. Id. at 15–17. For the reasons set out
       below, the Court will DENY Plaintiffs’ Motion for Summary Judgment
       and GRANT the FDA Defendants’ Motions for Summary Judgment as
       to this claim.

          1. Up-to-date mandate

          First, Plaintiffs claim the FDA’s decision to base the Delisting Action
       on a              time period conflicts with the statute’s up-to-date
       mandate, and unfairly gives
       Id. at 15. As a preliminary matter, Plaintiffs’ argument is slightly


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       misleading. Plaintiffs assert that because the FDA looked at a
       time period, the data used in the Delisting Action was “              ” Id.
       However, what Plaintiffs fail to mention in their argument is that


                   were projections for future months. Thus, what Plaintiffs
       really are complaining about is that the FDA chose to use the
                                                            rather than only
       looking at the                                   the Delisting Action.
       Nevertheless, the Court now turns to Plaintiffs’ claim that the FDA’s
       choice to use the                  data is inconsistent with Congress’s
       up-to-date mandate.

         The Federal Food, Drug, and Cosmetic Act (“FDCA”) requires the
       FDA to “maintain an up-to-date list of drugs that are determined by the
       [FDA] to be in shortage in the United States.” 21 U.S.C. 356e(a).
       “[S]hortage” is defined as “a period of time when the demand or projected
       demand for the drug within the United States exceeds the supply of the
       drug.” Id. § 356c(h)(2). Plaintiffs insist that allowing the FDA to consider
       a time period longer than a month or two is inconsistent with the Court’s
       finding that the FDA did not abuse its discretion by proceeding through
       adjudication rather than notice and comment because the statute
       requires the list to be “up-to-date.” This is not so. The distinction
       between notice-and-comment rulemaking and adjudication lies in the
       date of the agency action relative to the age of the data being considered.
       For example, imagine the FDA posted a proposed rule for notice and
       comment on December 1, 2023, based on data from June 1, 2023 to
       November 30, 2023. The FDA then conducted an expeditious
       notice-and-comment process and issued its final rule on June 1, 2024.
       The most recent data relied on in issuing that rule would have been
       seven-months old and, thus, not “up-to-date.” In contrast, if the FDA had
       proceeded through adjudication, the decision could have been issued
       within days or weeks of receiving the data. Thus, while in both examples
       the FDA relied upon the same data from the same time period, the
       agency action was up-to-date in the adjudication example because it
       included the most recent data available, and it was out-of-date in the
       notice-and-comment example because the most recent data was months


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       old. Consequently, despite Plaintiffs’ contentions otherwise, the FDA’s
       decision to review              data, and to project through
                                 is neither unreasonable nor inconsistent with
       the FDCA. The statutory scheme provides the FDA with the discretion
       to determine the relevant time period. As long as that time period
       includes the latest information available—such as data from November
       2024 while making a determination in early December 2024—it is
       consistent with Congress’s mandate. 1

          Plaintiffs’ secondary argument on this issue, that the FDA’s chosen
       time period unfairly gives                                        also
       fails. The Court has previously addressed this argument, and thus does
       so only briefly here. In reviewing its chosen time period, the FDA
       determined that the total supply outpaced the total demand—a point
       Plaintiffs seemingly concede here. Plaintiffs, however, argue the FDA
       should have chosen a different time period because it might have
       revealed a shortage. But, as discussed above, the FDA had discretion to
       determine the relevant period of time for its analysis. Plaintiffs’
       displeasure with the FDA’s chosen time period—because it reveals an
       outcome they do not like—is not grounds for an arbitrary and capricious
       finding. In fact, reviewing data for more than a month or two ostensibly
       only provides the FDA with more context for the state of supply and
       demand. Accordingly, the FDA’s decision to review                        data,
       and                                                                     , was
       consistent with the statutes up-to-date mandate.

          2. “In” or “Within” the United States

          Plaintiffs next argue that FDA erroneously made its decision based
       on a nationwide basis. ECF No. 122 at 15–16. Specifically, Plaintiffs
       argue that regions are by definition “in” or “within” the United States
       and, thus, the FDA erred by failing to consider whether individual

          1In fact, it makes logical sense to consider more than a month or two of

       data, as doing so allows for a more holistic view. While Plaintiffs argue here
       that if the FDA had considered a shorter time period it would have found the
       shortage persists, it does not stretch the imagination to conceive a
       circumstance in which a plaintiff would argue that the FDA’s choice to consider
       only the preceding month’s data concealed a more pervasive and long-lasting
       shortage.

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       regions were in shortage at any given time rather than evaluating the
       data on a national level. Id. Both sides agree “in” and “within” can
       connotate: (1) something “contained or enclosed by” and “not exhaustive”
       of a larger space; and (2) something that is exhaustive of the larger
       space. See ECF No. 137 at 29–30; and ECF No. 142 at 13. Both sides
       similarly argue that since it can mean both exhaustive and
       non-exhaustive the Court must read it in the manner that favors their
       side.

          Plaintiffs argue that if the Court allows the FDA’s reading of “within
       the United States” to mean that it must evaluate data on a national level
       then “national companies like Lilly [will] avoid shortages by declining to
       supply one or a few regions so that supply can exceed demand in many
       regions and thus avoid FDA’s shortage definition.” ECF No. 122 at 16.
       In contrast, the FDA Defendants argue the FDA’s reading was
       appropriate because the FDA is a national agency dealing with
       nationwide shortages and Plaintiffs’ reading has no limiting principle.
       ECF No. 137 at 29–31. While, as the Parties admit, both versions are
       plausible interpretations, the Court finds the FDA’s reading is the best
       reading of the statute.

          Plaintiffs’ assertion that companies can hide a national shortage by
       providing product to certain regions and not others, ignores the fact that
       a nationwide shortage determination looks at nationwide supply and
       demand. Plaintiffs’ scenario would be correct if the FDA made its
       shortage determination based on whether there are more regions (or
       states or cities) not in a shortage than there are regions in a shortage.
       But that is not the case. For example, imagine Lilly chose to supply
       doses to regions A and B but not C. When making a nationwide shortage
       determination, the FDA would consider the total supply (region
       A + region B) and compare it with total demand (region A + region
       B + region C). Consequently, if Lilly was only supplying regions A and
       B because it lacked the ability to also supply region C, then that fact
       would become evident in the FDA’s review of the nationwide data. This
       is consistent with the fact that the FDA is a national agency and must
       therefore consider drug shortages on a national level. Thus, the Court



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       finds that the FDA Defendants are entitled to summary judgment on
       this issue.

          3. Shipping delays

          Next, Plaintiffs claim the FDA erred in determining that some
       delays in shipping do not evidence a shortage because it is a statutorily
       enumerated factor that the FDA must consider. For context, as courts
       should always do, we begin with the statute. See, e.g., Shannon v. United
       States, 512 U.S. 573, 580 (1994) (Thomas, J.) (“[W]e turn first, as always,
       to the text[.]”). The FDCA provides that for every drug the FDA adds to
       its shortage list, the FDA is required to identify “[t]he name of the drug
       in shortage,” “[t]he name of each manufacturer of such drug,” “[t]he
       reason for the shortage” from an enumerated list of seven categories,
       and “[t]he estimated duration of the shortage as determined by the
       [FDA].” 21 U.S.C. § 356e(b)(1)–(4). The enumerated categories are:
       (1) [r]equirements related to complying with good manufacturing
       practices; (2) [r]egulatory delay; (3) [s]hortage of an active ingredient;
       (4) [s]hortage of an inactive ingredient component; (5) [d]iscontinuance
       of the manufacture of the drug; (6) [d]elay in shipping of the drug; and
       (7) [d]emand increase for the drug. Id. Specifically, Plaintiffs assert that
       21 U.S.C. § 356e(b) required the FDA to treat some localized shipping
       delays as dispositive evidence of a shortage. ECF No. 122 at 16.

          Plaintiffs’ claim fails for three reasons. First, the statute does not
       mandate or even recommend that the FDA must or should consider all
       of the enumerated categories when making a shortage determination.
       Rather, it simply mandates that the FDA list one of those seven
       categories as the reason a drug was placed on the list. Second, the Lilly
       Drugs were placed on the shortage list due to “high demand.” See ECF
       No. 126-1 at 4. Thus, even though the FDA considered more than high
       demand in the Delisting Action, it would not have been unreasonable for
       the FDA to focus only on whether the reason for the drugs’ listing had
       been overcome—i.e., whether the supply of the Lilly Drugs met or
       exceeded the “high demand.” And third, as discussed above, the FDA
       was required to determine if a nationwide shortage exists. While a
       pervasive and crippling shipping delay may evidence a nationwide
       shortage, it was not unreasonable for the FDA to conclude that some

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       localized shipping delays are not evidence of a nationwide shortage. If
       Plaintiffs are arguing that some shipping delays necessitate a shortage
       finding, they are wrong. If Plaintiffs are instead arguing the FDA was
       required to consider them in its decision, the record is clear that it did.
       Either way, Plaintiffs have failed to evidence an erroneous application
       of the statute, and the FDA Defendants are entitled to summary
       judgment on this issue.

          4. Compounding demand

          Finally, Plaintiffs assert it was legal error for the FDA to consider
       compounded volume only as a part of demand for future projections and
       not past demand because “[t]he statute does not treat a compounded
       form as ‘a different drug’ but as functionally the same drug.” ECF No.
       122 at 17. In support of this argument, Plaintiffs claim the FDA
       Defendants essentially admit that the compounded versions are the
       same as the Lilly Drugs by describing them as “knockoffs.” Id. This
       argument does not appear to fit within the statutory interpretation and
       application framework. Instead, it appears to be an argument that the
       decision was arbitrary because the FDA did not give enough weight to
       the demand for compounded drugs. Nevertheless, the Court holds that
       the FDA’s choice to determine past demand based on demand for the
       Lilly Drugs—and not the Lilly Drugs plus compounded versions—was
       reasonable and consistent with the statutory text.

           The statute requires the FDA to consider whether “demand or
       projected demand for the drug . . . exceeds the supply of the drug.”
       21 U.S.C. 356c(h)(2). “[T]he drug” the FDA must base its shortage
       determination on is “the drug” listed on the shortage list. At all points
       the statute requires the FDA to consider supply and demand for the “the
       drug” on the list. Thus, to consider a particular drug’s eligibility for the
       shortage list, the FDA must look to the supply of, and demand for, the
       drug itself. But, as here, if the manufacturer again becomes able to meet
       the demand for its drug, then it is appropriate to consider how many
       patients will transition to the manufacturer’s drug when analyzing the
       future demand. This is appropriate because once a drug leaves the
       shortage list, the compounded forms will no longer be available, and
       some patients will transition to the manufacturer’s drug. Here, the FDA

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       accounted for those patients who would transition to the Lilly Drugs in
       crafting its projected demand. Therefore, the Court holds that the FDA
       correctly applied the statute when determining the demand for the Lilly
       Drugs, and the FDA Defendants are entitled to summary judgment on
       this claim.

       C. Arbitrary and Capricious Claims

           The Court now turns to Plaintiffs’ claims that the Delisting Action
       was arbitrary and capricious. Agency decisions are “presumptively
       valid; the [plaintiff] bears the burden of showing otherwise.” Barr v.
       SEC, 114 F.4th 441, 447 (5th Cir. 2024); Tex. Med. Ass’n v. U.S. Dep’t of
       Health & Hum. Servs., 120 F.4th 494, 504 (5th Cir. 2024) (internal
       quotation and citation omitted). “If the agency articulates a rational
       relationship between the facts found and the choice made it does not act
       arbitrarily or capriciously.” Joseph v. Dir. of Tex. Serv. Ctr., U.S.
       Citizenship & Immigr. Servs., No. 24-40249, 2025 WL 458001, at *3 (5th
       Cir. Feb. 11, 2025) (quoting Louisiana ex rel. Guste v. Verity, 853 F.2d
       322, 327 (5th Cir. 1988)). The “focal point” of that review “should be the
       administrative record already in existence, not some new record made
       initially in the reviewing court.” Camp v. Pitts, 411 U.S. 138, 142 (1973).
       And “[j]udicial review under that standard is deferential, a[s] a court
       may not substitute its own policy judgment for that of the agency.” FCC
       v. Prometheus Radio Project, 592 U.S. 414, 423 (2021). While courts
       “may not supply a reasoned basis for the agency’s action that the agency
       itself has not given,” courts are to “uphold a decision of less than ideal
       clarity if the agency’s path may reasonably be discerned.” Tex. Med.
       Ass’n, 120 F.4th at 504 (citing Motor Vehicle Mfrs. Ass’n of U.S. v. State
       Farm Mut. Auto. Ins., 463 U.S. 29, 43 (1983)).

          Here, Plaintiffs assert that the Delisting Action is arbitrary and
       capricious because: (1) the FDA failed to sufficiently explain the grounds
       of its decision; (2) it is facially illogical and inconsistent; and (3) the FDA
       improperly ignored countervailing evidence. See ECF No. 122 at 8–15,
       17–27. For the reasons set out below, the Court will DENY Plaintiffs’
       Motion for Summary Judgment and GRANT the FDA Defendants’
       Motions for Summary Judgment as to these claims.


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          1. Claim two: sufficient explanation of the grounds for the decision

          Plaintiffs first argue that the Delisting Action is arbitrary and
       capricious because the FDA: (1) outsourced its decision-making
       responsibility to Lilly; (2) did not explain its choice of time period and
       why it did not choose an alternative; and (3) did not explain any findings
       of supply or demand. ECF No. 122 at 8–15. The Court addresses each.

           Plaintiffs first claim the FDA impermissibly delegated its authority
       to Lilly by allowing Lilly to “decide[] what evidence to present and on
       what time frames.” ECF No. 122 at 9. This assertion is contradicted by
       the record evidence. In fact, the record shows that the data provided by
       Lilly and relied upon by the FDA in the Delisting Action was produced
       by Lilly only in response to requests for data made by the FDA. See, e.g.,
       ECF No. 126-1 at 45 (Lilly providing data requested by the FDA),
       50 (same), 51 (same), 53 (same), 67–68 (same), 156–201 (same). While it
       is clear the FDA worked closely with Lilly in making its decision, such
       coordination was evidently necessary as the FDA decision involved
       Lilly’s product, for which only Lilly had the relevant data. Therefore, the
       Court concludes that the FDA did not arbitrarily delegate its decision-
       making authority to Lilly.

           Next, Plaintiffs assert the Delisting Action does not explicitly state
       what time period the FDA evaluated, why the FDA chose that time
       period, and why it was better than the alternatives. ECF No. 122 at 10–
       13. As Plaintiffs acknowledge in their Motion, courts will “uphold a
       decision of less than ideal clarity if the agency’s path may be reasonably
       discerned.” BNSF Ry. Co. v. Fed. R.R. Admin., 62 F.4th 905, 911 (5th
       Cir. 2023) (internal citation omitted). The Court previously found that
       the FDA sufficiently identified that it was considering actual
                data                                and projected data


              Plaintiffs fault the FDA for considering data based on different
       time periods. But it is not unreasonable for the FDA to request and
       consider data from different time periods in order to get a holistic

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       picture. It is certainly more reasonable than only considering mass data
       from an extended period or a screenshot from one particular point in
       time. Thus, the Court finds the time period considered by the FDA is
       reasonably discernible and reasonable.

          Furthermore, Plaintiffs impermissibly attempt to place an
       additional burden on the FDA that is not required by the APA when the
       FDA proceeds through an adjudication. Specifically, Plaintiffs claim
       that the FDA was required to explain why it chose the time period it did
       and why it did not choose an alternative. In support of this assertion,
       Plaintiffs cite to a series of cases. See ECF No. 122 at 8, 11–13 (citing
       DHS v. Regents of the Univ. of Cal., 591 U.S. 1, 27–30 (2020); State
       Farm, 463 U.S. at 48; Clarke v. CFTC, 74 F.4th 627, 641 (5th Cir. 2023);
       10 Ring Precision, Inc. v. Jones, 722 F.3d 711, 724 (5th Cir. 2013); Off.
       of Commc’n of United Church of Christ v. F.C.C., 707 F.2d 1413, 1424
       (D.C. Cir. 1983)). All of these cases stand for the proposition that when
       an agency acts through notice-and-comment rulemaking it “must
       consider and explain its rejection of ‘reasonably obvious alternative[s],’
       [but] it need not consider every alternative proposed nor respond to
       every comment made. Rather, an agency must consider only
       ‘significant and viable’ and ‘obvious’ alternatives.” See 10 Ring Precision,
       722 F.3d at 724 (emphasis added). As explained above, the FDA properly
       proceeded through adjudication. Therefore, the general proposition that
       agencies are required to explain their rejection of reasonable
       alternatives that were proposed during the comment period, is
       inapplicable here. Consequently, the Court holds that the Delisting
       Action was not arbitrary and capricious because it failed to explain why
       the FDA chose the time period used over reasonable alternatives.

           Lastly, Plaintiffs argue the Delisting Action is arbitrary and
       capricious because the FDA failed to “explain basic supply and demand
       choices.” ECF No. 122 at 13. Specifically, Plaintiffs fault the FDA for
       considering different data (inventory and cumulative charts), different
       periods of time, and Lilly’s statement that they could supply
                                   . Id. at 13–14. Additionally, Plaintiffs
       claim the “FDA failed to consider obvious questions about product
       storage, loss, and longevity.” Id. at 14–15. The Court addresses each.

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           Plaintiffs correctly point out that the FDA considered different types
       of data from different points in time. While Plaintiffs criticize the FDA
       for doing so, as discussed above, the record shows the FDA was
       requesting said data in an attempt to get a holistic view. Plaintiffs,
       however, insist that some of the data is irreconcilable. For example,
       Plaintiffs contend that the FDA must have been confused because Table
       1 (showing available inventory of                                    )
       and Table 4 (showing cumulative supply
                                    ) are seemingly in contradiction. ECF No.
       122 at 13–14. But the record demonstrates that the FDA noticed this
       potential discrepancy, asked Lilly about it, and was satisfied that there
       was good reason for the seeming discrepancy. See ECF No. 126-1 at 185–
       86. Specifically, as Lilly responded to the FDA’s questions, the Tables
       show different data points because,




               Id. Consequently, the Court finds that it was not unreasonable
       for the FDA to consider different data points in making its shortage
       determination, and that the record does not support Plaintiffs’ assertion
       that the FDA was confused by the data.

           Further, Plaintiffs argue the FDA materially and inappropriately
       relied on Lilly’s assertion that it could supply
              . However, Plaintiffs have failed to demonstrate how the FDA’s
       acknowledgment of Lilly’s assertion is material to the Delisting Action.
       First, there is no evidence to show that the FDA’s reliance on the
       statement was unreasonable. In fact, the record shows Lilly’s past
       projections were not only


                                                  ECF No. 122-1 at 30–31.
       Second, Plaintiffs’ assertion that reliance on such number is
       unsupported by the previous supply numbers ignores the fact that those
       numbers did not include or account for the


                        . And third, the projected supply numbers demonstrate


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       that the FDA did not simply rely on Lilly’s assertion and place a
                                                  into the chart. See id. at
       31. Even with the
              actually considered by the FDA, the total supply for the relevant
       period still outpaced the total demand. Thus, the Court finds that
       Plaintiffs are not entitled to summary judgment on this issue.

           Finally, Plaintiffs claim the FDA failed to consider product storage,
       loss, and longevity. ECF No. 122 at 14–15. In essence, Plaintiffs assert
       it was unreasonable for the FDA to rely on cumulative numbers if there
       was no evidence in the record that a dose from
                           . This argument fails for the reasons pointed out
       by the FDA Defendants in their briefs and at the hearing. Specifically,
       the FDA understood that it is a general business practice across all
       industries for companies to ship out its older product first when filling
       orders to minimize wasted product. Further, in providing inventory
       numbers to the FDA, Lilly was representing that the number provided
       reflected the number of doses which it had on hand that were available
       to fill orders. Notably, Plaintiffs do not accuse Lilly of improperly
       inflating its inventory numbers with expired or unusable doses. Thus, it
       was not unreasonable for the FDA to conclude that the inventory
       numbers provided by Lilly represented viable and usable doses.
       Accordingly, the FDA Defendants are entitled to summary judgment on
       claim two.

          2. Claim three: facially illogical and inconsistent

           Plaintiffs raise three grounds for why the Delisting Action is facially
       illogical and inconsistent. ECF No. 122 at 17–23. First, Plaintiffs claim
       the Delisting Action is arbitrary because it considers cumulative data
       from                              . Id. at 19–20. Second, Plaintiffs assert
       the FDA erroneously relied on Lilly’s assertion that it can supply
                                   . 2 Id. at 20–21. And third, Plaintiffs argue
       the cumulative data hides contradictions that are fatal to the Delisting
       Action’s reasoning. Id. at 21–23. For the reasons set out below, the Court


          2The Court fully addressed this issue in the preceding section and declines

       to do so again here.

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       will DENY Plaintiffs’ Motion for Summary Judgment and GRANT the
       FDA Defendants’ Motions for Summary Judgment as to this claim.

           The crux of Plaintiffs first argument on this issue is that if the FDA
       had chosen to look at a different time period it may have reached a
       different conclusion. Here, Plaintiffs fault the FDA for its chosen time
       period and argue that the chosen time period hides a shortage and is
       inconsistent with the up-to-date mandate. It is not in dispute that the
       FDA has discretion to choose the relevant time period. As discussed
       above, as long as the FDA’s chosen time period contains the most recent
       data, as it does here, the FDCA grants the FDA broad discretion to
       choose the time frame for its analysis. Whether a different time period
       may have been “better” is not for the Court to say. See Prometheus Radio
       Project, 592 U.S. at 423 (“a court may not substitute its own policy
       judgment for that of the agency”). In making its shortage determination,
       the FDA chose a time period and considered the relevant data from that
       time period. 3
           Next, Plaintiffs claim that because the FDA relied on data showing
       different metrics, the FDA was confused and missed that the data
       actually reveals a shortage. ECF No. 122 at 21–23. Plaintiffs specifically
       point to data from Tables 4 and 5 and argue that it shows a




              Id. at 22. Plaintiffs insist this fact demonstrates the unreliable
       nature of the data because if
                                                             Id.

           Plaintiffs’ argument fails for two reasons. First, Table 5 represents
       the number of doses shipped to wholesalers while Table 4 reflects
                                                . Compare ECF No. 126-1
       at 206–09 (“




          3“The statute does not require more of the FDA and neither does this
       Court.” Outsourcing Facilities Ass’n, 2025 WL 746028, at *11 n.11.

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                                                                .” 4); with ECF
       No. 122-1 at 28 (“Lilly Reported Volume of [the Lilly Drugs] Pre-Filled
       Pens Shipped to Wholesalers . . .). Thus, it is hardly surprising that a


                                                                      . And
       second, because Plaintiffs draw this data from a short time period—
       evidencing the non-arbitrary nature of the FDA’s decision to review
       cumulative data for more than a month or two—the charts fail to
       account for orders that may have been placed at the end of one month
       but filled in the next. For example, wholesalers could have placed
       various orders on                      , that were fulfilled by Lilly
       shipping doses on                   . The orders would appear in the
                  numbers for demand, but the prompt shipment would not be
       included in the             “shipped” number. Therefore, the Court finds
       Plaintiffs failed to show that the Delisting Action was arbitrarily
       illogical or inconsistent. Accordingly, the FDA Defendants are entitled
       to summary judgment on claim three.

          3. Claim three: countervailing evidence

          Finally, Plaintiffs assert that the Delisting Action “arbitrarily waved
       away all evidence of shortage.” ECF No. 122 at 23–27. Specifically,
       Plaintiffs claim the FDA reviewed all of the evidence provided by them,
       and others, with “hyper-skepticism.” 5 Id. at 23. Plaintiffs, and others,
       provided four categories of evidence to the FDA: (1) screenshots of
       pharmacy wholesalers’ websites; (2) patient reports; (3) news reports;
       and (4) compounding numbers. Id. at 23–27. Plaintiffs re-urge the
       arguments they raised on this issue in their Motion for Preliminary
       Injunction and argue that the FDA arbitrarily failed to adequately
       consider this evidence in its shortage determination. Id. Thus, the Court


          4

                                                            ECF No. 126-1 at 146–47.

          5As a preliminary matter, the Court notes that the FDA also scrutinized

       and rejected some of Lilly’s evidence based on the same standards it applied to
       the countervailing evidence. See, e.g., ECF No. 122-1 at 29 n.44., 29–30 n.53.
       If nothing else, this shows the FDA did not blindly rely on Lilly’s assertions
       and evidence.

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       has already thoroughly analyzed and ultimately rejected these very
       arguments in this case. See Outsourcing Facilities Ass’n, 2025 WL
       746028, at *12–14. The Court’s prior determination has only been
       bolstered by a review of the full administrative record. At the hearing,
       Plaintiffs’ counsel specifically identified the following pages from their
       appendix as their best evidence on this issue: “680, 667, 669, 679, 682,
       and 714.” ECF No. 148 at 25–26. But Plaintiffs’ “best evidence”
       seemingly cuts directly against their position. See ECF No. 122-9 at 680
       (showing all doses in stock); 667 (same); 669 (same); 679 (same); 682
       (same); 714 (same); see also 683–94 (same). Accordingly, the Court fully
       adopts its prior reasoning and conclusion here. Therefore, the Court
                      UNITED STATES DISTRICT COURT
       finds thatFOR
                  the FDA’s  choice to “giveDISTRICT
                       THE NORTHERN          more weightOFtoTEXAS
                                                             specific, reliable,
       comprehensive, andFORT  current  information
                                    WORTH     DIVISIONfrom Lilly” was not
       unreasonable in light of the evidence before it. Outsourcing Facilities
       R
       Ass’n, 2025 WL
         EGINALEA    KEMP ,
                       746028, at *13. Consequently, the FDA Defendants are
       entitled to summary judgment on claim four.
          Plaintiff,
                                    CONCLUSION
       v. For the reasons set out above, Plaintiffs’ No. 4:23-cv-00841-P
                                                     Motion for Summary
       Judgment is DENIED, and the FDA Defendants’ Motions for Summary
       REGIONS BANK ET AL.,
       Judgment are GRANTED.
          Defendants.
          Given the agreed confidentiality agreement that was entered into by
                                     ORDER
       the Parties, and enforced by the Court, the undersigned finds it
          Before the
       appropriate   to Court   is unredacted
                        file this  Plaintiff’s Unopposed   Motion
                                               opinion under  seal. for Leaveafter
                                                                     Shortly   to File
                                                                                   the
       Second  Amended     Complaint.   ECF    No. 18. Having considered  the Motion
       opinion is filed, the Parties will be provided, via email, an unsigned PDF
       and applicable
       version          docket It
               of the order.     entries, the Court that,
                                    is ORDERED            on orthe
                                                     GRANTS          Motion.
                                                                 before    4:00 p.m.,
       MaySO13,  2025, the Parties
              ORDERED              shall day
                           on this 18th  submit, via response
                                             of September      to the email, an
                                                             2023.
       agreed upon version of the order containing any appropriate redactions.
       After receiving and reviewing the Parties’ version, the Court will issue
       the redacted order.

          SO ORDERED on this 7th day of May 2025.


                              ______________________________________________
                              Mark T. Pittman
                              UNITED STATES DISTRICT JUDGE


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